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10   USA, Inc., and HiSilicon Technologies Co. Ltd.

11                              UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
13
      HUAWEI TECHNOLOGIES CO., LTD.,                  Case No. 16-cv-02787-WHO
14    HUAWEI DEVICE USA, INC., and
      HUAWEI TECHNOLOGIES USA, INC.,
15                                                    HUAWEI’S MOTION TO PRECLUDE
             Plaintiffs / Counterclaim-Defendants,    SAMSUNG’S FRAND EXPERTS FROM
16    v.                                              OFFERING IMPROPER LEGAL
                                                      OPINIONS
17    SAMSUNG ELECTRONICS CO., LTD.,
      SAMSUNG ELECTRONICS AMERICA,
18    INC.,
                                                      Hearing Date: August 8, 2018
19           Defendants / Counterclaim-Plaintiffs,    Time: 2:00 PM
                                                      Judge: Hon. William H. Orrick
20                  and

21    SAMSUNG RESEARCH AMERICA,                       REDACTED VERSION OF
                                                      DOCUMENT SOUGHT TO BE SEALED
22           Defendant,
      v.
23
      HISILICON TECHNOLOGIES CO., LTD.,
24
                    Counterclaim-Defendant.
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      HUAWEI’S MOTION TO PRECLUDE SAMSUNG’S FRAND EXPERTS FROM OFFERING
                  IMPROPER LEGAL OPINIONS, CASE 16-CV-02787-WHO
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 1   counsel, to provide a framework for his factual analysis, and Mr. Davies himself is not qualified to
 2   offer legal opinions. See Villalpando, 161 F. Supp. 3d at 895 (experts can analyze factual evidence
 3   based on correct legal assumptions provided by counsel). Mr. Davies testified at his deposition that
 4   counsel for Samsung did not ask him to rely on the above statements as legal assumptions. See
 5   Ex. 4, Davies Dep. 132:8-15. Mr. Davies also testified that he is not an expert in antitrust law or
 6   economics, he did not cite in his report and could not identify any authority supporting his above-
 7   quoted opinions, and he could not identify the specific “antitrust regulations” he refers to in his
 8   report or even say whether he was referring to U.S. antitrust regulations. See id. at 147:18-157:10.
 9   Further, Mr. Davies’ opinions about SEPs and antitrust law have no bearing on the remainder of his
10   report. The technical opinions in his report do not rely on such opinions. Therefore, Mr. Davies’
11   unsupported and irrelevant opinions about SEPs and antitrust law would be unhelpful to the jury,
12   even if they were otherwise permissible. See Fed. R. Evid. 702(a).
13          Third, Mr. Davies misstates the law. There is no legal authority for the rule that Mr. Davies
14   suggests, and he cites none. There is no per se rule against injunctions on standard essential patents.
15   Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1331 (Fed. Cir. 2014), overruled on other grounds by
16   Williamson v. Citrix Online, LLC, 792 F.3d 1339 (Fed. Cir. 2015), (“To the extent that the district
17   court applied a per se rule that injunctions are unavailable for SEPs, it erred . . . . [A]n injunction
18   may be justified where an infringer unilaterally refuses a FRAND royalty or unreasonably delays
19   negotiations to the same effect.”); ECF No. 235-15 (U.S. Dept. of Justice and U.S. Patent &
20   Trademark Office Policy Statement on Remedies for Standard-Essential Patents Subject to
21   Voluntary F/RAND Commitments (Jan. 8, 2013)) at 7 (injunctive relief “may still be an appropriate
22   remedy in some circumstances, such as where the putative licensee . . . refuses to engage in a
23   negotiation to determine F/RAND terms.”). Indeed, the question of whether injunctions would be
24   appropriate in this particular circumstance, based on infringement in China of Chinese declared
25   SEPs, is a question that was considered and disposed of by the Shenzhen Court via the application of
26   Chinese law, thus clearly contradicting Mr. Davies’ unqualified (and baseless) opinion that
27   injunctions cannot be granted on SEPs. See ECF No. 283 at p. 48 (Ex. 36, Publicly Filed Version of
28   Shenzhen Court Opinion) at 209-210. In any event, to the extent that the antitrust laws proscribe the

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 1   Dated: July 3, 2018                Respectfully submitted,
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